          Case 2:03-cr-00371-JAM-EFB Document 1158 Filed 10/08/19 Page 1 of 1

 1

 2
 3

 4
 5
 6
 7
 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         CASE NO. 2:03-CR-00371-MCE-EFB

12                               Plaintiff,            ORDER

13                         v.

14   DWAYNE LAMONT SLATER,

15                               Defendant.

16
17          Pursuant to Rule 36 of the Federal Rules of Criminal Procedure, and based upon the unopposed
18 motion filed by the United States and the Court’s pronouncement at sentencing in this case, the
19 judgment and commitment order is hereby ordered corrected in order to list the total amount of
20 restitution owed by defendant Dwayne Slater as $796,659.75, correcting the previous judgment and
21 commitment order. The hearing set at 10:00 a.m. on Thursday, October 10, 2019, is hereby VACATED.
22          IT IS SO ORDERED.
23 Dated: October 7, 2019
24
25
26
27
28


30
